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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


 DAVID FEINGOLD and
 MICHAEL DAZZO,
          Plaintiffs


 Vs.


 RICHARD CARDINALE, VANIA CARDINALE,
 RVCNY, LLC. And RVCSI, LLC.,


          Defendants
 ____________________________________/


                                             COMPLAINT
          Comes Now the Plaintiffs, by and through undersigned counsel and hereby file this

 complaint and state as follows

                                                 PARTIES:

       1. Plaintiff David Feingold is a citizen of and resident of the State of Florida, Southern

          District of Florida.

       2. Plaintiff Michael Dazzo is a citizen of and resident of the State of Florida and the

          Southern District of Florida.

       3. Defendant Richard Cardinale is a citizen of and resident of the State of New York and

          resides at 57 St. James Place, Staten Island, NY.



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    4. Defendant Vania Cardinale is a citizen of and resident of the State of New York and

       resides at 57 St. James Place, Staten Island, NY.

    5. Defendant RVCNY, LLC is a limited liability company incorporated in the State of New

       York with its principal place of business located in the state of New York.

    6. Defendant RVCSI, LLC is a limited liability company incorporated in the State of New

       York with its principal place of business located in the state of New York.

                                           JURISDICTION:

    7. Jurisdiction is based upon diversity jurisdiction as there is complete diversity between the

       Plaintiffs and Defendants and the amount in controversy exceeds seventy five thousand

       dollars exclusive of attorneys fees and costs and thereby jurisdiction is appropriate.

    8. This controversy involves multiple corporations called Alternative Global Management,

       LLC; Alternative Global One, LLC; Alternative Global Two, LLC; Alternative Global

       Three, LLC; Alternative Global Four; Alternative Global Five; and Alternative Global

       Six (collectively hereinafter referred to as the “AG Entities”).

    9. Each of the AG Entities are Delaware limited liability companies but with their corporate

       office and registered agent is located in the Southern District of Florida.

    10. Each of the actions alleged herein furthermore took place in the Southern District of

       Florida or via electronic communications which either originated in or were received in

       the Southern District of Florida.

                                              FACTS

    11. In approximately 2019 the AG Entities were formed by Plaintiff Feingold, Plaintiff

       Dazzo and Defendant Cardinale. Each of said entities executed the same operating


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       agreement which provided that each manager and member, of which the aforementioned

       Plaintiffs and Defendant were the only managers and members, would have the right to

       withdrawal from such positions pursuant to Delaware law.

    12. The AG Entities control a number of valuable operating businesses that have a substantial

       net worth in the millions of dollars and the assets of which are owned by the AG Entities

       include assets in the merchant cash advance industry, the real estate development

       industry, the debt settlement industry, the fast food industry and home building.

    13. Defendant RVCNY, LLC. is an owner of some of the AG Entities assets and Defendant

       RVCSI, LLC. is an owner of some of the cash flow receipts of the AG Entities and both

       RVCNY and RVCSI have the same manager and members which are Defendants Richard

       Cardinale and Defendant Vania Cardinale.

    14. As was their right pursuant to all of the executed operating agreements, the Plaintiffs

       Feingold and Dazzo became uncomfortable with a great deal of the conduct involving the

       Defendants and as a result resigned from all of the AG Entities except for Alternative

       Global Management.

            COUNT I – PAYMENT OF FAIR VALUE PURSUANT TO STATUTE

    15. Plaintiffs reallege paragraphs 1 through 14 as if fully set forth herein.

    16. On January 28, 2022 the Plaintiffs advised the Defendants of their resignation of the

       specific entities identified by sending an email which stated in part “In addition, now that

       Mr. Feingold and Mr. Dazzo have resigned as members of the Alternative Global

       Numbered Entities, Mr. Feingold and Mr. Dazzo are entitled to the fair value of their

       interests. The operating documents of the Alternative Global Numbered Entities provide

       that membership resignation becomes effective upon six months notice, however,

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       Delaware law is clear that Mr. Cardinale and his entities now lawfully owe Mr. Feingold

       and Mr. Dazzo compensation for the fair market value of all of their interests. This

       interest is to be based on their right to share in distributions from the Alternative Global

       Numbered Entities. See 6 Del.C. § 18-604.”

    17. The Defendants received the above communication and confirmed receipt of the same

       and its effectiveness on January 28, 2022. Defendants further confirmed acceptance of

       the same.

    18. Delaware code section 18-604 specifically provides that: Except as provided in this

       subchapter, upon resignation any resigning member is entitled to receive any distribution

       to which such member is entitled under a limited liability company agreement and, if not

       otherwise provided in a limited liability company agreement, such member is entitled to

       receive, within a reasonable time after resignation, the fair value of such member’s

       limited liability company interest as of the date of resignation based upon such member’s

       right to share in distributions from the limited liability company.

    19. The Defendants have asserted that they refuse to comply with Delaware law and to pay

       the Plaintiffs anything. Furthermore the Defendants have seized all of the monies of the

       AG Entities including Alternative Global Management, LLC. of which the Plaintiffs did

       not resign. Defendants have further undertaken a campaign of attempting to harm the

       assets fair value by causing investors to ask for monies and deplete asset values and

       thereby potentially leaving the AG Entities worthless while Defendants remove money

       and/or compel close friends of their to take monies thus reducing assets.

    20. Hence, the Defendants have seized millions of dollars in cash in bank accounts and assets

       and refuse to comply with Delaware law and pay fair value as is legally required and



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        might potentially impair assets for the purpose of inhibiting the ability of the Plaintiffs to

        collect monies owed to them.

    21. As a direct and proximate result of the Defendants violation of their lawful obligations,

        the Plaintiffs have been damaged to the full extent of the fare value required to be paid

        under Delaware code section 18-604 as well as any other and addition damages that may

        have been incurred.

    Wherefore, the Plaintiffs request damages, trial by jury and such other relief as this court

    may deem appropriate.

 Dated this 5th day of February 2022.

                                               Respectfully Submitted;

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